Case 1:23-cv-00728-JLS Documenti Filed 07/21/23
23 CV 728-~d3LS

Revised 03/06 WDNY UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COURT
(Non-Prisoner Context)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

1. CAPTION OF ACTION

A. Full Name of Plaintiff: NOTE: /fmore than one plaintiff files this action and seeks in forma pauperis status, each plaintiff
must submit an in forma pauperis application or the only plaintiff to be considered will be the plaintiff who filed an application.

Wiliam Nolan

-Vs-
B. Full Name(s) of Defendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names of all parties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Adda separate sheet, if necessary.
;, American Police and Troopers Coalition PAC 4.
2. Di
3. 6.

2. STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
All of these sections MUST be answered

Identify the basis for federal Court jurisdiction over your claim, such as that the United States government is a party to the action, all the
parties reside in different states and therefore you claim diversity jurisdiction, or the claim presents a federal question or arises under
federal law.

A. Basis of Jurisdiction in Federal Court; Parties reside in different states

State why the Western District of New York is the proper venue for this action, such as that your claim arises in or the defendant resides
in the 17 westernmost counties of New York State.

B. Reason for Venue in the Western District: Plaintiff resides in 17 Westernmost counties of NYS

Identify the nature of this action, such as that it is a civil rights claim, a personal injury or personal property (tort) claim, a property rights
claim, or whatever it is.

C. Nature of Suit: }elephone Consumer Protection Act of 1991 (TCPN), 47 U.S.C. § 227

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3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: 1o list additional plaintiffs, use this format on another sheet of paper.

Name of First Plaintiff. William Nolan
Present Address: C009 Cumberland Lane Hamburg NY 14075

Name of Second Plaintiff:
Present Address:

DEFENDANT’S INFORMATION NOTE: 1o iist additional defendants, use this format on another sheet of paper.
Name of First Defendant: American Police and Troopers Coalition PAC

Official Position of Defendant (if relevant):

Address of Defendant: 12895 Josey LN Num 450 Farmers Branch, TX 75234

Name of Second Defendant:
Official Position of Defendant (if relevant):
Address of Defendant:

Name of Third Defendant:

Official Position of Defendant (if relevant):
Address of Defendant:

4, PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT
A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?

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If Yes, complete the next section. NOTE: /f you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

1. Name(s) of the parties to this other lawsuit:
Plaintiff(s):

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Defendant(s):

2. Court (if federal court, name the district; if state court, name the county):

Docket or Index Number:

Name of Judge to whom case was assigned:

The approximate date the action was filed:

Aw Pp w

What was the disposition of the case?
Is it still pending? Yeq N:

If not, give the approximate date it was resolved.

Disposition (check those statements which apply):

Dismissed (check the statement which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;
[| By court for failure to prosecute, pay filing fee or otherwise respond to a

court order;
[| By court due to your voluntary withdrawal of claim;
[_] Judgment upon motion or after trial entered for

[| plaintiff
CJ defendant.

5. STATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that “[a]ll averments of claim ... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

A. FIRST CLAIM: On (date of the incident) ,

defendant (give the name and (if relevant) the position held of each defendant involved in this incident)
American Police and Troopers Coalition PAC

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did the following to me (briefly state what each defendant named above did): Called 148 times.

My name is on the national do-not-call list.

| asked several times to be removed from their call list.

They insist on harassing me and wasting my time.

There is a class action lawsuit in Pennsylvania that goes into detail how this

organization and its network harasses people around the country relentlessly.

Shoemaker et al. v. Zeitlin et al. - 1:21-cv-01668

The federal basis for this claim is: Defendants reside in different states

Federal courts have subject matter jurisdicion for claims arising under TCPA

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:
Penalize the Defendant $222,000 @ $1500/call and reimburse plaintiff for any legal fees

- A violation of section 227(b) of the TCPA carries statutory damages of $500 to $1500 per call

B. SECOND CLAIM: On (date of the incident)

defendant (give the name and (if relevant) position held of each defendant involved in this incident)

did the following to me (briefly state what each defendant named above did):

The federal basis for this claim is:

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

If you have additional claims, use the above format to set them out on additional sheets of paper.

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6. SUMMARY OF RELIEF SOUGHT

Summarize the relief requested by you in each statement of claim above.

$222,000.00

Do you want a jury trial? Yel _| no |

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 07/21/23
(date)

NOTE: Each plaintiff must sign this complaint and must also sign all subsequent papers filed with the Court.

vu

Signature(s) of Plaintiff(s)
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Document 1 Filed 07/21/23

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JS 44 (Rev, 08/18)

Case 1:23-Cv-00728- 6a Sp POSEN ARs GeO /2 1/23 Pag

The JS 44 civil cover sheet and the information contained herein neither replace nor ret the filing and service of Qa: or ho pers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
WWam Nolan Rmed ca Delite and Teer pers Coalition 8 AC
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— .
(b) County of Residence of First Listed Plaintiff Cre
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (If Known)

II. BASIS OF JURISDICTION (Place an “xX” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 4 3° Federal Question PTF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State (@ 1 © 1 Incorporated or Principal Place o4 o04
of Business In This State
G6 2 U.S. Government 0 4 Diversity Citizen of Another State O 2 @& 2 _Incorporeted and Principal Place os o85
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a 03 O 3 Foreign Nation 06 O86
Foreign Country
IV. NATURE OF SUIT (Piece an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
© 110 Insurance PERSONAL INJURY PERSONALINJURY | 625 Drug Related Seizure © 422 Appeal 28 USC 158 © 375 False Claims Act
6 120 Marine 6 310 Airplane CO 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal 0 376 Qui Tam (31 USC
6 130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
6 140 Negotiable Instrument Liability O 367 Health Care/ 6 400 State Reapportionment
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& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 6 430 Banks and Banking
© 151 Medicare Act © 330 Federal Employers’ Product Liability O 830 Patent 0 450 Commerce
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(Excludes Veterans) OG 345 Marine Product Liability __ O 840 Trademark Corrupt Organizations
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of Veteran's Benefits 0 350 Motor Vehicle © 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) @ 485 Telephone Consumer
O 160 Stockholders’ Suits © 355 Motor Vehicle O 371 Truth in Lending Act O 862 Black Lung (923) Protection Act
O 190 Other Contract Product Liability © 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI © 850 Securities/Commodities/
O 196 Franchise Injury 0 385 Property Damage © 740 Railway Labor Act O 865 RSI (405(g)) Exchange
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Medical ractice Leave Act O 891 Agricultural Acts
Jc. SREAL PROPERTY: | CIVIL RIGHTS =| “PRISONER PETITIONS +] 790 Other Labor Litigation FEDERAL TAX SUITS '~|0) 893 Environmental Matters
© 210 Land Condemnation 6 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement © 870 Taxes (U.S, Plaintiff 6 895 Freedom of Information
G 220 Foreclosure O 441 Voting 6 463 Alien Detainee Income Security Act or Defendant) Act
© 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party © 896 Arbitration
0 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 © 899 Administrative Procedure
© 245 Tort Product Liability Accommodations 0 530 General Act/Review or Appeal of
© 290 All Other Real Property 0 445 Amer. w/Disabilities -] O 535 Death Penalty os IMMIGRATION =. -] Agency Decision
Employment Other: © 462 Naturalization Application G 950 Constitutionality of
O 446 Amer. w/Disabilities -] 540 Mandamus & Other | 465 Other Immigration State Statutes
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V. ORIGIN (Place an “X" in One Box Only)
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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity): ze e fh

VI. CAUSE OF ACTION

Brief description of cause:

Relertioss

Aelagwone Cas

VII. REQUESTED IN O CHECK IF THIS

IS A CLASS ACTION

DEMAND $

222 ,OCCO©,” sury DEMAND:

CHECK YES only if demanded in complaint:
O Yes PFNo

COMPLAINT: UNDER RULE 23, FR.CvP.
VIII. RELATED CASE(S)
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‘FOR OFFICE USE ONLY
JUDGE MAG. JUDGE

RECEIPT # AMOUNT

APPLYING IFP

